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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON

 UNITED STATES OF AMERICA,                     )
                                               )
         Plaintiff,                            )
                                               )
 v.                                            )      No. 6:11-CR-16-GFVT-HAI-5
                                               )
 MICHAEL HATFIELD,                             )    RECOMMENDED DISPOSITION
                                               )
         Defendant.                            )
                                               )
                                               )
                                       *** *** *** ***

       The Court, on referral (D.E. 126), considers reported violations of supervised release

conditions by Defendant Michael Hatfield. This Court entered a judgment against Defendant on

September 26, 2011, for aiding and abetting theft of United States Forest Service property in

violation of 18 U.S.C. §§ 641 and 2. D.E. 105. Defendant was sentenced to twelve months of

imprisonment followed by three years of supervised release, representing the top of the advisory

imprisonment range and the statutory maximum term of supervised release. Id. Defendant

began his supervised release term on March 2, 2012.

       On August 10, 2012, the United States Probation Office (USPO) issued a Supervised

Release Violation Report, and secured a warrant from the District Judge. The Report charges

Defendant, in Violation #1, with violating Standard Condition #7, which provides that “[t]he

defendant . . . shall not purchase, possess, use distribute, or administer any controlled substance .

. . except as prescribed by a physician.” The Report also charges Defendant, in Violation #2,

with violating the condition of his supervision which provides that “[t]he defendant shall not

commit another federal, state, or local crime.” Specifically, the Report states that, on July 26,
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2012, a urine specimen provided by Defendant tested positively for the presence of

buprenorphine (Suboxone) via instant testing device. When confronted by the USPO, Defendant

initially stated that he used Suboxone “once, a long time ago,” but later admitted to using a

partial “strip” of Suboxone a couple of weeks prior to the testing date. According to the Report,

Defendant finally acknowledged that he used Suboxone approximately one and one-half weeks

prior to his drug test. The Report notes that Defendant indicated he obtained the drug from his

cousin and that he did not know the substance was a narcotic. Defendant signed an Admission

Form acknowledging his use of Suboxone. The Report reasons that, as buprenorphine (the active

ingredient in Suboxone) is a Schedule III Controlled Substance and Defendant has a prior drug

conviction, pursuant to Sixth Circuit case law holding that the use of a controlled substance is the

equivalent of possessing the controlled substance, possession of Suboxone constitutes a violation

of 21 U.S.C. § 844(a), a Class E Felony.

       Finally, the Report charges Defendant, in Violation #3, with violating Standard Condition

#2, which provides that “[t]he defendant shall report to the probation officer and shall submit a

truthful and complete written report within the first five days of each month.” The Report states

that U.S. Probation Officer Scott Greiwe attempted to contact Defendant at his reported

telephone number on two occasions on July 30, 2012—first at approximately 5:17 p.m. and then

at approximately 5:42 p.m. On both occasions, the Report states, Officer Greiwe left a voice

message directing Defendant to contact him upon receipt of the message. According to the

Report, Officer Greiwe left another voice message at approximately 11:37 a.m. on July 31, 2012,

directing Defendant to contact him upon receipt of the message. On August 2, 2012, after

receiving no response from Defendant, Officer Greiwe attempted to contact Defendant at his

residence. The Report indicates that no one answered the door, and a door hanger left on the

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door knob by Officer Greiwe directed Defendant to report to the USPO the following morning at

9:00 a.m. According to the Report, Defendant did not report as directed, and had not contacted

the USPO as of the date of the Report.

       The Court conducted an initial appearance pursuant to Rule 32.1 on August 22, 2012, and

set a final hearing following a knowing, voluntary, and intelligent waiver of the right to a

preliminary hearing. D.E. 124. At the initial appearance, the United States made an oral motion

for interim detention, and Defendant did not object. Id. The Court found that detention was

appropriate as Defendant did not carry the heavy release burden imposed upon him under Rule

32.1(a)(6) and 18 U.S.C. § 3143(a). Id.

       The final hearing in this matter, initially scheduled for August 30, 2012, was continued

several times. On August 31, 2012, the matter was called for a final hearing after having been

continued from August 30. D.E. 128. However, the Court granted the United States’s motion to

again continue the final hearing, and set a status conference for September 17, 2012. Id.

Defendant was released pending the final hearing subject to the existing terms of supervised

release, with the additional condition that he report for weekly drug testing as directed by the

USPO. Id. At the September 17, 2012 status conference, the Court set a final hearing for

October 15, 2012. D.E. 130. On October 15, the final hearing was again continued upon the

joint motion of the United States and Defendant, and was rescheduled for November 16, 2012.

D.E. 132. Defendant continued to be released subject to the conditions as described on August

31, 2012. Id.

       At the final hearing on November 16, 2012, Defendant was afforded all rights due under

Rule 32.1 and 18 U.S.C. § 3583.          D.E. 135.   Defendant competently entered a knowing,

voluntary, and intelligent stipulation to the charged violations. Id. Further, for purposes of Rule

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32.1 proceedings, Defendant admitted the factual basis for the violations, as described in the

Report. Id. In the Supervised Release context, the Sixth Circuit treats controlled substance use

as equivalent to possession. See United States v. Crace, 207 F.3d 833, 836 (6th Cir. 2000). The

United States thus established Violations #1-3 under the standard of § 3583(e).

       At the final hearing, the United States recommended revocation and imprisonment for

one day, with the maximum term of supervision—35 months and 29 days—to follow. Defendant

joined in the United States’s recommendation. However, the parties’ recommendation is not

binding on the Court.

       The Court has evaluated the entire record, including the recent Supervised Release

Violation Report and accompanying documents, and the sentencing materials from the

underlying Judgment in this District. Additionally, the Court has considered all of the § 3553

factors imported into the § 3583(e) analysis. Under § 3583(e)(3), a defendant’s maximum

penalty for a supervised release violation hinges on the gravity of the underlying offense of

conviction. Defendant’s § 641 conviction was for a Class C felony. See 18 U.S.C. § 641; 18

U.S.C. § 3559. For a Class C felony, the maximum revocation sentence provided under § 3583

is two years of imprisonment. See 18 U.S.C. § 3583(e)(3). The Policy Statements in Chapter 7

of the Guidelines provide advisory imprisonment ranges for revocation premised on criminal

history (at the time of original sentencing) and the “grade” of the particular violation proven.

See United States v. Perez-Arellano, 212 F. App’x. 436, 438-39 (6th Cir. 2007) (“Although the

policy statements found in Chapter Seven of the United States Sentencing Guidelines

recommend ranges of imprisonment, U.S.S.G. § 7B1.4, such statements ‘are merely advisory’

and need only be considered by the district court before sentence is imposed.”) (citation omitted).

Under § 7B1.1, Defendant’s admitted conduct would qualify as Grade C violations with respect

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to Violations #1 and #3 and a Grade B violation with respect to Violation #2. Given Defendant’s

criminal history category of IV (the category at the time of the conviction in this District) and a

Grade B violation, see U.S.S.G. § 7B1.2(b) (“Where there is more than one violation of the

conditions of supervision, or the violation includes conduct that constitutes more than one

offense, the grade of the violation is determined by the violation having the most serious

grade.”), Defendant’s range, under the Revocation Table of Chapter 7, is 12-18 months.

Notably, the bottom of the range equals Defendant’s original term of imprisonment imposed by

the Court’s Judgment.

       Congress does mandate revocation in a case of this nature. By statute, the Court must

revoke Defendant’s release because he possessed a controlled substance. See 18 U.S.C. §

3583(g)(1); see also Crace, 207 F.3d at 836 (equating use with possession). The Sixth Circuit

clearly and repeatedly has equated drug use with drug possession, and Defendant’s admitted use

in this context undoubtedly results in application of § 3583(g)(1). See United States v. Metcalf,

292 F. App’x 447, 450 n.2 (6th Cir. 2008) (“Mandatory revocation was . . . warranted under §

3583(g)(1), as we have held that use of a controlled substance constitutes possession under that

subsection.”). The only exception would be if a suitable treatment option, or Defendant’s record

of involvement in treatment, warranted relief. See 18 U.S.C. § 3583(d); Crace, 207 F.3d at 835

(holding district court “required by 18 U.S.C. § 3583(g) to revoke the defendant’s term of

supervised release upon the defendant’s positive drug test and admission of the use of a

controlled substance unless defendant could come under the exception in 18 U.S.C. § 3583(d)”).

Defendant did not seek, nor does the record support, application of this exception.

       The Court has considered all of the § 3553 factors imported into the § 3583(e) analysis,

and finds that imprisonment of one day is appropriate based upon those factors, the

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circumstances discussed by counsel during the sealed discussions throughout this matter, and the

parties’ joint recommendation. The Guidelines suggest that the primary wrong in the supervised

release context is violation of the Court’s trust by an offender; the particular conduct is an

important but secondary issue. See Guidelines 7 Pt. A(3)(b) (“[A]t revocation the court should

sanction primarily the defendant’s breach of trust, while taking into account, to a limited degree,

the seriousness of the underlying violation and the criminal history of the violator.”).

       For the reasons stated in the sealed discussions during the final revocation hearing, and

considering Defendant’s compliant conduct since he was released on August 31, 2012, the Court

finds that revocation and imprisonment for a period of one day is appropriate. The Court relies

heavily upon those sealed discussions, which are certainly available to the presiding District

Judge if he intends to review them. However, the Court cannot stress enough how important it is

for Defendant to take advantage of the break he has been given. The Court is placing an

enormous amount of trust in Defendant, and from this point on, it is up to Defendant to pay that

trust back. As explained at the hearing, it is exceedingly rare for the Court to impose such a

lenient sentence given Defendant’s criminal history and the instant violations. However, the

Court is encouraged that, since Defendant was released on August 31, he has been drug tested

weekly and has passed every test. The Court is also pleased to hear that Defendant has gained

custody of his fifteen-year-old son. In return for the Court’s leniency, the Court expects a lot

from Defendant. The Court is giving Defendant a chance to turn his life around and to continue

making positive decisions, as he has in the last three months. The Court is hopeful that the

incentives created by gaining custody of his son will keep Defendant on the right path. Future

violations will be dealt with harshly.



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       The imposition of a one-day term of imprisonment also allows the Court to impose a

lengthy term of supervision to follow, which the Court hopes will provide Defendant with the

structure and incentives necessary to get his life on track. A court may reimpose supervised

release, following revocation, for a maximum period that usually subtracts any term of

imprisonment actually imposed due to the violation. See 18 U.S.C. § 3583(b) & (h). The post-

revocation cap depends on the “term of supervised release authorized by statute for the offense

that resulted in the original term of supervised release.” See 18 U.S.C. § 3583(h). The general

supervision-term limits of § 3583(b) apply “[e]xcept as otherwise provided.” See id. § 3583(b).

Here, the maximum term of supervised release would be three years, see 18 U.S.C. § 3583(b)(2)

(providing for a maximum term for supervised release of three years for the underlying offense),

less any revocation term imposed, see 18 U.S.C. § 3583(h). Based upon the factors described

above, the Court finds that the maximum term of supervised release of 35 months and 29 days

following the term of imprisonment is warranted. The undersigned also recommends to the

District Judge that Defendant continue weekly drug testing for the first six months of his

supervised released.    In addition, the undersigned recommends that Defendant complete

outpatient drug treatment. Defendant previously admitted to having a problem with prescription

opiates, and his recent use of Suboxone is troubling. The Court is hopeful that Defendant’s drug

problem is not as bad as it once was, and that treatment will help him put substance abuse behind

him for good.

       One matter not specifically addressed during the hearing is the need for Defendant

to take all reasonable steps available to him to become employed. Defendant’s conditions

already include that he maintain employment (D.E. 105, Standard Condition #5). The

Court emphasizes the importance of attempting to obtain employment because continued

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unemployment creates instability and a risk of theft, particularly given Defendant’s many

previous theft-related convictions.

       The Court cannot emphasize enough that this is Defendant’s last chance. Any future

violations will likely result in a sentence at the statutory maximum. Defendant still has the

ability and opportunity to change the course of his life. Part of that appropriate course must

include strict compliance with all conditions of supervised release in the future.

       The Court RECOMMENDS, based on the violations found:

       1.      Revocation and imprisonment for a term of one day.

       2.      An additional supervised release term of 35 months and 29 days. While on

               supervised release, the Court recommends that Defendant be subject to the

               conditions imposed by the Court’s judgment dated September 26, 2011.           In

               addition, the Court recommends that Defendant be subject to the following

               additional conditions:

                       (1) Defendant shall submit to weekly drug testing at the USPO in London,

                       Kentucky, for the first six months of his supervised release; and

                       (2) Defendant shall complete outpatient drug treatment and counseling at

                       the direction of the USPO.

       Defendant’s right of allocution under Rule 32.1 is preserved, as reflected in the record.

Any waiver should comport with the Court’s standard waiver form, available from the Clerk.

Absent waiver, the matter will be placed on Judge Van Tatenhove’s docket upon submission.

        The Court directs the parties to 28 U.S.C. § 636(b)(1) for appeal rights concerning this

recommendation, issued under subsection (B) of the statute. See also 18 U.S.C. § 3401(i). As

defined by § 636(b)(1), within fourteen days after being served with a copy of this recommended

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decision, any party may serve and file written objections to any or all portions for consideration,

de novo, by the District Court. Failure to make timely objection consistent with the statute and

rule may, and normally will, result in waiver of further appeal to or review by the District Court

and Court of Appeals. See United States v. Walters, 638 F.2d 947, 950 (6th Cir. 1981); Thomas

v. Arn, 106 S. Ct. 466 (1985).

       This the 3rd day of December, 2012.




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